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                               UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                    SOUTHERN DIVISION



 MISSISSIPPI MEDICAL PROFESSIONALS
 FOR INFORMED CONSENT,

 -and-

 INFORMED CONSENT ACTION NETWORK,

                                    Plaintiffs,
              -against-                                Civil Action No.    1:25cv157 LG-RPM

 NATIONAL INSTITUTES OF HEALTH,

 -and-

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,

                                    Defendants.


                                             COMPLAINT

         Plaintiffs Mississippi Medical Professionals for Informed Consent (“MMPFIC”) and

Informed Consent Action Network (“ICAN”, collectively “Plaintiffs”) bring this action against

defendants National Institutes of Health (“NIH”) and the United States Department of Health and

Human Services (“HHS”) (collectively, “Defendants”) to compel compliance with the Freedom

of Information Act, 5 U.S.C. § 552 (“FOIA”). As grounds therefor, Plaintiffs allege as follows:

                                   JURISDICTION AND VENUE

         1.       The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

         2.       Venue is proper in this district pursuant 5 U.S.C. § 522(a)(4)(B) and 28 U.S.C. §

1331.



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                                            PARTIES

       3.      Plaintiff MMPFIC is a not-for-profit organization formed and existing under the

laws of the state of Mississippi, with its principal office located at 6646 Alii Place, Diamondhead,

Mississippi 39525. Plaintiff is in good standing with the Mississippi Secretary of State.

       4.      Plaintiff ICAN is a not-for-profit organization formed and existing under the laws

of the state of Texas, with its principal office located at 2025 Guadalupe Street, Suite 260, Austin,

Texas 78705. Plaintiff is in good standing with the Texas Secretary of State.

       5.      Defendant NIH is an agency within the Executive Branch of the United States

Government and is a part of HHS. NIH is an agency within the meaning of 5 U.S.C. § 552(f). NIH

has possession, custody, and control of records to which Plaintiffs seek access.

       6.      Defendant HHS is an agency within the Executive Branch of the United States

Government. HHS is an agency within the meaning of 5 U.S.C. § 552(f) and has possession,

custody, and control of records to which Plaintiffs seek access.

                                    STATEMENT OF FACTS

       7.      On August 16, 2024, Plaintiffs sent a FOIA request to NIH seeking copies of the

following records:

               All communications (including but not limited to emails, text
               messages, direct messages, Teams chats, Slack chats, Signal
               messages, etc.) sent and/or received by Anthony Fauci, Greg
               Folkers, and/or David Morens from April 1, 2020 through April 1,
               2022 that contain the terms “CDC” AND (flu AND/OR influenza)
               AND (mortality, death!, error!, problem!, issue!, inconsistent, data,
               AND/OR burden).

               ! = Boolean search

(Exhibit 1.)

       8.      Defendant NIH updated the status of Plaintiffs’ FOIA request to “received” on

August 16, 2024, and the request was assigned 62313. (Exhibit 2.)


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       9.       As of the date of this Complaint, Defendants have failed to: (i) determine whether

to comply with the request as required under 5 U.S.C. § 552(a)(6)(A)(i); (ii) notify Plaintiffs of

any such determination or the reasons therefor as required under § 552(a)(6)(A)(i)(I); (iii) advise

Plaintiffs of the right to appeal any adverse determination not to comply with the request, as

required under § 552(a)(6)(A)(i)(III)(aa); or (iv) produce the requested records or otherwise

demonstrate that the requested records are exempt from disclosure pursuant to § 552(b).

                                   COUNT I
            FAILURE TO MAKE DETERMINATION BY REQUIRED DEADLINE
                        (VIOLATION OF FOIA, 5 U.S.C. § 552)

       10.      Plaintiffs reallege the previous paragraphs as if fully stated herein.

       11.      Defendants are in violation of FOIA.

       12.      5 U.S.C. § 552(a)(6)(A)(i) requires Defendants to make a final determination on

Plaintiffs’ request no later than twenty (20) business days from acknowledgement of the request.

Because Defendants failed to make a final determination on Plaintiffs’ request within the time

limits set by FOIA, under § 552(a)(6)(C)(i) Plaintiffs are deemed to have exhausted their

administrative appeal remedies.

       13.      Plaintiffs are being irreparably harmed by reason of Defendants’ violation of FOIA

and Plaintiffs will continue to be irreparably harmed unless Defendants are compelled to comply

with the law.

       14.      Plaintiffs have no adequate remedy at law.

                                  COUNT II
             FAILURE TO PROVIDE AN ESTIMATED COMPLETION DATE
                       (VIOLATION OF FOIA, 5 U.S.C. § 552)

       15.      Plaintiffs reallege the previous paragraphs as if fully stated herein.

       16.      Defendants are in violation of FOIA.




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        17.     The agency never provided an estimated date on which the agency would complete

its action on the request.

                                COUNT III
              IMPROPER WITHHOLDING OF INFORMATION AND DATA
                      (VIOLATION OF FOIA, 5 U.S.C. § 552)

        18.     Plaintiffs reallege the previous paragraphs as if fully stated herein.

        19.     Defendants have failed to establish that they adequately applied an exemption to or

adequately withheld any responsive records.

        20.     Defendants are in violation of FOIA.

                                     COUNT IV
                     FAILURE TO ESTABLISH AN ADEQUATE SEARCH
                          (VIOLATION OF FOIA, 5 U.S.C. § 552)

        21.     Plaintiffs reallege the previous paragraphs as if fully stated herein.

        22.     Defendants have failed to establish that they adequately searched for responsive

records, as required by 5 U.S.C. § 552 (a)(3)(C) and (D).

        23.     Defendants are in violation of FOIA.

                               COUNT V
         ENTITLEMENT TO WAIVER OF SEARCH AND DUPLICATION FEES

        24.     Plaintiffs reallege the previous paragraphs as if fully stated herein.

        25.     Defendants are in violation of FOIA.

        26.     Plaintiffs sought a waiver of search and duplication fees pursuant to 5 U.S.C. §

552(a)(4)(A)(ii)(II).

        27.     Plaintiffs are further entitled to a waiver of fees pursuant to 5 U.S.C. §

552(a)(4)(A)(viii) because Defendants failed, within 20 days, to produce the requested records and

otherwise failed to comply with the statutory requirements of 5 U.S.C. § 522 within the time limits

set forth therein.



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                                    REQUESTED RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       a.      Declare that Defendants’ current and continued delay in processing Plaintiffs’

FOIA request is unlawful under FOIA;

       b.      Order Defendants to conduct searches for any and all records responsive to

Plaintiffs’ FOIA request and demonstrate that they employed search methods reasonably likely to

lead to the discovery of records responsive to Plaintiffs’ FOIA request;

       c.      Order Defendants to produce, by a date certain, any and all non-exempt records

responsive to Plaintiffs’ FOIA request and a Vaughn index of any responsive records withheld

under any claimed exemption;

       d.      Enjoin Defendants from continuing to withhold any and all non-exempt records

responsive to Plaintiffs’ FOIA request;

       e.      Maintain jurisdiction over this action pursuant to 552(a)(6)C)(i) until Defendants

comply with FOIA and all orders of this Court;

       f.      Grant Plaintiffs an award of attorneys’ fees and other litigation costs reasonably

incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E);

       g.      Grant Plaintiffs a fee waiver pursuant to 5 U.S.C. § 552(a)(4)(A)(viii); and

       h.      Grant Plaintiffs such other relief as the Court deems just and proper.


Dated: May 29, 2025                                  SIRI & GLIMSTAD LLP

                                                      /s/ R. Scott Pietrowski
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